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UNITED sTATEs DISTRICT coURT FEB , 0 2005
FoR THE DlsTRicT oF soUTH DAKoTA §§.q<i/
CLERK
wEsTERN DivlsioN
uNlTED sTATEs or AMERICA,
CR 04-50131
Piaimiff,
vs. GovERNMEN'r’s REsPoNsE

TO DEFENDANT’S OBJECTIONS

JOHN WATERS,

Defendant.

 

Comes now the United States of America, through its attorneys, Michelle G. Tapken,
Acting United States Attorney, and Jonathan A. Kobes, Assistant United States Attorney, and
responds as follows:

The United States does not oppose the defendant's objection to Jury lnstruction
Number 7 on the grounds that the United States did not allege that the defendant committed
“an unlawful act not amounting to a felony.” The United States does oppose omission ofjury
instructions 13 and l4. The elements of the offense included in the proposed jury
instructions state that element 3 can be satisfied by a showing that the defendant committed
the deaths of the victims “in an unlawful manner which might produce death or with wanton

or reckless disregard for human life which might produce death." The government is

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therefore required to demonstrate an “unlawful manner.” lnstructions 13 and 14, while
defining unlawful acts, also describe “‘unlawiiil manners” in which a person might commit
a lawful act. Without instruction from the court on what constitutes “unlawful” conduct, the

United States will not be able to establish this element of the offense
Dated this lOth day of February, 2005.

MICHELLE G. TAPKEN
Acting U ` d States Attorney
By:

%/t/

JoN r#(N A. KoBEs

Assi ant U.S. Attorney

20 ederal Building, 515 Ninth Street
Rapid City, South Dakota 5770l
(605)342-7822

CERTIFICATE OF SERVICE
I, Jonathan A. Kobes, hereby certify thatl served a true and correct copy of the above
and foregoing Government’s Response to Defendant’s Objections on Monica D. Thomas,

Assistant F ederal Public Defender, 703 Main Street, Z“d Floor, Rapid City, South Dakota, by

///L

Jo th‘an A. Kobes

hand delivery, this lOth day of February, 2005.

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